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IN THE UNITED STATES DISTRICT COURT CLERK OF Dis cs
FOR THE SOUTHERN DISTRICT OF IOWA SOUTHERN Dis?
UNITED STATES OF AMERICA, ) Criminal No. 1:21-CR-00053
)
V. ) INDICTMENT
)
COTY WILLIAM CATES, ) T. 18, U.S.C. § 922(g)(1)
) T. 18, U.S.C. §§ 924(a)(2), (c)(1)(A)
) T. 21, U.S.C. §§ 841(a)(1), (b)C1)(A)
) T. 21, U.S.C. § 853
Defendant. ) T. 28, U.S.C. § 2461(c)
THE GRAND JURY CHARGES:
COUNT 1

(Prohibited Person in Possession of a Firearm)

On or about October 12, 2021, in the Southern District of Iowa, the Defendant, COTY
WILLIAM CATES, in and affecting commerce, knowingly possessed a firearm and ammunition,
namely: a loaded SCCY Model CPX-2 9mm caliber pistol (serial # 348277) and ammunition. At
the time of the offense, the defendant had been convicted of a crime punishable by imprisonment
for a term exceeding one year and knew of this condition.

This is a violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

THE GRAND JURY FURTHER CHARGES:

COUNT 2
(Possession with Intent to Distribute a Controlled Substance)

On or about October 12, 2021, in the Southern District of Iowa, the Defendant, COTY
WILLIAM CATES, did knowingly and intentionally possess with intent to distribute a controlled
substance, namely, 50 grams or more of methamphetamine, a Schedule II controlled substance.

This is a violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

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THE GRAND JURY FURTHER CHARGES:

COUNT 3
(Possession of a Firearm in Furtherance of Drug Trafficking)

On or about October 12, 2021, in the Southern District of Iowa, the Defendant, COTY
WILLIAM CATES, did knowingly possess a loaded firearm, namely, an SCCY Model CPX-2
9mm caliber pistol (serial # 348277) and ammunition, in furtherance of a drug trafficking crime
for which he may be prosecuted in a court of the United States, that is, Possession with Intent to
Distribute a Controlled Substance as charged in Count 2 of this Indictment.

This is a violation of Title 18, United States Code, Section 924(c)(1)(A).

THE GRAND JURY FINDS:
Notice of Forfeiture

Upon conviction for the offense alleged in Count 1 of this Indictment, the defendant shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d), and Title 28,
United States Code, Section 2461(c), all firearms, magazines, and ammunition involved in the
commission of said offense, including, but not limited to, the SCCY Model CPX-2 9mm caliber
pistol (serial # 348277) and ammunition, including the 9mm caliber rounds, identified in Count 1
of this Indictment.

This is pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States
Code, Section 2461(c).

In addition, upon conviction of the offense set forth in Count 2 of this Indictment, the

defendant, COTY WILLIAM CATES, shall forfeit, to the United States, the following:
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A. Proceeds. Any and all property constituting, and derived from, any proceeds such
defendant obtained, directly or indirectly, and as a result of the said violation, and
B. Facilitation. Any property used, and intended to be used in any manner, or part, to commit
or to facilitate the commission of such violation, including but not limited to the $1,715 in
currency seized during the October 12, 2021 traffic stop,
in that such property constitutes or is derived from proceeds obtained, directly or indirectly, as a
result of such violation.
This is pursuant to Title 21, United States Code, Section 853, Rule 32.2(a) of the Federal

Rules of Criminal Procedure.

A TRUE BILL.

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Richard D. Westphal
United States Attorney

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Michael B. Duffy
Assistant United States i
